AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                           JUDGMENT IN A CRIMINAL CASE
                                                                                   (For Revocation of Probation or Supervised Release)
          V.                                                                       (For Offenses Committed On or After November 1, 1987)



MICKY SHELLEN PETTY                                                                Case Number: DNCW 498CR000089-010
                                                                                   USM Number:

                                                                                   Frank Abrams
                                                                                   Defendant’s Attorney


THE DEFENDANT:

X         admitted guilt to violation of condition(s) 1 of the term of supervision.
X         was found in violation of condition(s) count(s) 1.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                          Date Violation
 Violation Number                     Nature of Violation                                                 Concluded

 1                                    New Law Violation                                                   8/29/07



       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

          The Defendant has not violated condition(s)                         And is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant’s economic circumstances.


                                                                                   Date of Imposition of Sentence: 6/26/08
                                                                                      Signed: July 10, 2008




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Defendant: MICKY SHELLEN PETTY                                                                           Judgment-Page 2 of 2
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                                                                  IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 20 Months.




          The Court makes the following recommendations to the Bureau of Prisons:

 X        The Defendant is remanded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               As notified by the United States Marshal.

                                At___a.m. / p.m. on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               As notified by the United States Marshal.

                                Before 2 p.m. on ___.

                               As notified by the Probation Office.

                                                                       RETURN

          I have executed this Judgment as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgment.


                                                              ___________________________________________
                                                              United States Marshal


                                                   By:        _______________________________________
                                                              Deputy Marshal




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